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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-00250 TLN
                      Plaintiff,       )
12                                     ) STIPULATION REGARDING
                                       ) EXCLUDABLE TIME PERIODS
13
           v.                          ) UNDER SPEEDY TRIAL ACT;
14                                     ) FINDINGS AND ORDER
                                       )
15
     KRISTIN M CALDWELL                )
16   XAVIER L. JOHNSON                 )
     WILLIAM L. BROWN                  )
17                                     ) Date: 9-12-13
18                    Defendants.      ) Time: 9:30 a.m.
     _______________________________) Judge: Hon. Troy L. Nunley
19

20                                        STIPULATION
21         Plaintiff United States of America, by and through its counsel of record, and
22
     defendants by and through their counsels of record, hereby stipulate as follows:
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24
           1.       By previous order, this matter was set for status on June 20, 2013.

25         2.       By this stipulation, defendants Kristin Caldwell, Xavier Johnson and
26
     William Brown now move to continue the status conference until September 12, 2013, at
27
     9:30 a.m. and to exclude time between June 20, 2013 and September 12, 2013 under
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1    Local Code T4. Plaintiff does not oppose this request.
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            3.       The parties agree and stipulate, and request that the Court find the
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     following:
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5           a.       The government has represented that the discovery associated with this case
6
     includes approximately 325 pages of discovery. All of this discovery has been either
7
     produced directly to counsel and/or made available for inspection and copying.
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9           b.       Counsels for the defendants desire additional time to consult with their

10   clients, to review the current charges, to finish the investigation and research related to
11
     the charges, and to discuss potential resolutions with their clients.
12
            c.       Counsels for the defendants believe that failure to grant the above-
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14   requested continuance would deny them the reasonable time necessary for effective
15
     preparation, taking into account the exercise of due diligence.
16
            d.       The government does not object to the continuance.
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18          e.       Based on the above-stated findings, the ends of justice served by continuing
19   the case as requested outweigh the interest of the public and the defendant in a trial
20
     within the original date prescribed by the Speedy Trial Act.
21

22
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

23   3161, et seq., within which trial must commence, the time period of June 20, 2013 to
24
     September 12, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§
25
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
26

27   the Court at defendants’ request on the basis of the Court's finding that the ends of justice
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     served by taking such action outweigh the best interest of the public and the defendants in


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1    a speedy trial.
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            4.       Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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5    from the period within which a trial must commence.
6
     IT IS SO STIPULATED.
7
     Dated: June 17, 2013                      Respectfully submitted,
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9
                                               /s/ Kelly Babineau
10                                             KELLY BABINEAU
11
                                               Attorney for Kristin Caldwell

12
     Dated: June 17, 2013                      /s/ Kyle Knapp
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                                               Kelly Babineau for KYLE KNAPP
14                                             Attorney for XAVIER JOHNSON
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16   Dated: June 17, 2013                      /s/ William DuBois
                                               Kelly Babineau for WILLIAM DuBois
17
                                               Attorney for WILLIAM L. BROWN
18

19   Dated: June 17, 2013                      /s/ Matthew Morris
20                                             Kelly Babineau for:
                                               MATTHEW MORRIS
21                                             Assistant U.S. Attorney
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1
                                ORDER
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     IT IS SO FOUND AND ORDERED this 19th day of June, 2013.
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                                         Troy L. Nunley
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                                         United States District Judge
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